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                                                                                                                                          rILED
                                                                                                                                     U.S.OISTNICT
                                                                                                                                               EOURT
                                 IN                                                      SlV.
                                      THE T'NITED STATES DISTRICT COURT FOR rHE}{llfiiisLq
                                           SOUTHERN DISTRICT OF    GEORGIA
                                                  DUBI.IN DIVISION                                                                         Pltl: l9
                                                                                                                                    iSlSSEP-9
UNITED STATES OF AMERICA


                                                                                                     cR 312-003-22


RONALD HARRELL




                                                                            ORDER



                 p r,5sFnt
                 EtLrLrrLfl             l v      n endi       -^       1-\.F^?a        iLa           i'--\,,1.j- iS      Def endant              ROnaf        d
                                                 }iurrvfrrJ




Harrell's                         pro se motj-on for                            reconsideration                         of his            sentence'

Harrell                     pfeaded                guil-ty            to one count                      of      conspiracy                to possess

with                lnEenL                  to          distribute                    cocaine                 and      crack          cocaine            on

December f8,                             20f2,            and he was sentenced on,fune                                             20, 2013.             At

sentencing,                            Harreff                was not               given       a reduction                    in    his        offense
'I                                                             ,-f    rF<rh.\n<1i1"\i l i l.1/ hFCaUSe
     orzol           fnr          e..Frrj-
                                  geeLI/ggrrer    ar'r.F                                                                      he    had     Viol-ated


the conditions                                   of his              pretriaf           refease.                    rn fact,          Harrel-l- was

arrested                         on a d.rug-relaEed charge whil-e on pretrial                                                              refease.

Through his motion,                                           Harref l- arg'ues thaE he shoufd be given                                                the

i ^u^r aEhPt - . nu- aar r ! e
4                                     .\F        rccnnnci              hi   I i frr     rcdrrej-             i on     ha.^r1qa            fhe       drltat-


ral       al- ad            r-harrrp             ro:q      rr'l f imat- Flv            nnl     l e     nrossed,


                  n                                                                                                                qcnf
                 l-!-^     - d ^ErlEt
                           cr Y
                                h^r-          4 l       F,,'1 a        r    -^rrrt-     mrlr         r.\i_     mndi    f rr   .a           ayta'F    6na'e



it        has been imposed.                                          l-8 U.s.C.              S 3582 (c) .'                    There are three


                 1          The court                    notses that    col-lateral- attacks challenging
LI.IC
                    .t ,'].l+.,
              vct-L-L\-rf Ly
                                         ^+
                                         ur
                                                   -
                                                   a    hri           j udgment and sentence shoufd be
                                                                  c.\nar'       q

brought                     by f il-ing                  a mot r-on to vacate sentence pursuanE to 28
u. 5.9.                  g zz>>.
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exceptions                       to        this        general              ru1e.            First,        if     the       Direct.or        of

t.he Bureau of                            Prisons               files         a motion            askj-ng for           a reduction,

.   .'.1rrr^f m^\,. enl-erj- ain                                 it        under           certain         circumsLances.                    18

u.s.c.             S 3582(c) (r) (a) .                                second, section                    3582 references                   Rul-e

35 of           the           Federal                 Rules           of     Criminal             Procedure            for     .inst.ances

when correcting                              sentence is proper.                            18 U.S.c.            S 3582(c) (1) (B) .

Rule        35 al-l-ows modification                                              upon an order                 from    an appeffate

court,              upon a motion                               from         the      Government,                or     to     correct        a

computationaf                             error         wit.hin            seven days of                  sentencing.               Third,

a cour!               may reduce a senLence that                                            was "based on a sentencing

range           that              has          subsequently                       been lowered              by        the    Sentencing

Commission pursuant                                      t.o 28 U.S.C.                       S 944 (o) ."                   18 U.S.c.         S

3582(c) (2\ .                             Harrelf's               request            for      a reducti.on does not f al-l-

wir-hirr            . a r r 1 r v^!f
                    qrrJ                    l-hFqF       ar..'ar\fi.)nq                     A.r.nrdinolr-r              j-he    (-.)rrri     is


without                   authority                   to modify              his      sentence,

           Tv T
              y vh r^rn     fs rlr-ur a   f^ra.r.\i      rr.r         l-Ir1.?al     I ,a    m^f   i.\n    for     reconsideration

(doc.          no.          855)             is       hereby           DENTED.2

           ORDERENTEREDat Augusta,                                                  Georgia,             this          ?*                   u^


                                                                                      UNITED STA                 S DISTRICT           ,JUDG




           '
          Moreover, the d r u g - r e l a t e d  charge was noffe prossed
woul-d not necessaril-y  negate a finding             that Harref l- was in
un]awf ul- possession of narcotic           drugs whil-e he was on pretrial
release.
